In re Delphi Corporation, et al.
                                                 05-44481-rdd               Doc 9692-11      Filed 09/28/07 Entered 09/28/07 16:40:29                                Exhibit E-4
                                                                                                     Pg 1 of 1                                                                   Twentieth Omnibus Claims Objection
Case No. 05-44481 (RDD)
 EXHIBIT E-4 - CONSENSUALLY MODIFIED AND REDUCED TORT CLAIMS
CLAIM TO BE MODIFIED        CLAIM AS DOCKETED                                                                                              CLAIM AS MODIFIED

Claim: 10488
                                                   Claim Holder Name and Address
Date Filed: 07/24/2006
Docketed Total:   $200,000.00                      BRUCE C WHEELER                           Docketed Total:                 $200,000.00   BRUCE C WHEELER                       Modified Total:          $60,000.00
Filing Creditor Name and Address:                  CO                                                                                      CO
  BRUCE C WHEELER                                  MORRISCANTORLUKASIKDOLCE                                                                MORRISCANTORLUKASIKDOLCE
  CO                                               &PANEPINTO                                                                              &PANEPINTO
  MORRISCANTORLUKASIKDOLCE                         1000 LIBERTY BUILDING                                                                   1000 LIBERTY BUILDING
  &PANEPINTO                                       420 MAIN ST                                                                             420 MAIN ST
  1000 LIBERTY BUILDING                            BUFFLAO, NY 14202                                                                       BUFFLAO, NY 14202
  420 MAIN ST
  BUFFLAO, NY 14202                               Case Number*                     Secured     Priority                  Unsecured         Case Number*          Secured              Priority       Unsecured
                                                  05-44481                                                                   $200,000.00   05-44640                                                       $60,000.00

                                                                                                                             $200,000.00                                                                  $60,000.00

Claim: 5070
                                                   Claim Holder Name and Address
Date Filed: 05/08/2006
Docketed Total:   $0.00                            MANNS DEBRA A                             Docketed Total:                         UNL   MANNS DEBRA A                         Modified Total:          $45,000.00
Filing Creditor Name and Address:                  FRANK J DOLCE                                                                           FRANK J DOLCE
  MANNS DEBRA A                                    1000 LIBERTY BLDG                                                                       1000 LIBERTY BLDG
  FRANK J DOLCE                                    420 MAIN ST                                                                             420 MAIN ST
  1000 LIBERTY BLDG                                BUFFALO, NY 14202                                                                       BUFFALO, NY 14202
  420 MAIN ST
  BUFFALO, NY 14202                               Case Number*                     Secured     Priority                  Unsecured         Case Number*          Secured              Priority       Unsecured
                                                  05-44640                                                                           UNL   05-44640                                                       $45,000.00

                                                                                                                                     UNL                                                                  $45,000.00


                                                                                                                                                Total Claims to be Modified: 2
                                                                                                                                                Total Amount as Docketed:         $200,000.00
                                                                                                                                                Total Amount as Modified:         $105,000.00




*See Exhibit G for a listing of debtor entities by case number.
                                                                                                           Page 1 of 1
*UNL stands for unliquidated
